     Case 3:20-cv-00219-MMD-WGC Document 13 Filed 10/19/20 Page 1 of 3



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 4    Telephone:     (775) 398-3065
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 6    Attorneys for Defendant
      HOME DEPOT U.S.A., INC.
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10                     UNITED STATES DISTRICT COURT, STATE OF NEVADA

11
      ODELL GUSS, an individual,                           No. 3:20-cv-00219-MMD-WGC
12
                     Plaintiff,
13                                                         STIPULATION AND ORDER FOR
      v.                                                   DISMISSAL WITH PREJUDICE
14
      HOME DEPOT U.S.A., INC., a foreign
15    corporation, DOES I-X, inclusive and ROE
      Corporations I-X, inclusive,
16
                     Defendants.
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19           IT IS HEREBY STIPULATED, by and between the parties, through their respective

20    counsel of record, that all claims against Defendant HOME DEPOT U.S.A., INC. in the above

21    entitled action be dismissed with prejudice, each party to bear their own attorney’s fees, costs

22    and related expenses.

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24    ///

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       STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE                           3:20-cv-00219-MMD-
                                                                                    WGC
     Case 3:20-cv-00219-MMD-WGC Document 13 Filed 10/19/20 Page 2 of 3



 1     DATED: October 19, 2020                 DATED: October 19, 2020
 2     BURNHAM BROWN                           GALLOWAY & JENSEN
 3

 4      /s/ Lynn V. Rivera                     /s/ Graham Galloway
       LYNN V. RIVERA                          Graham Galloway
 5     200 S. Virginia Street, 8th Floor       222 California Avenue
       Reno, NV 89501                          Reno, NV 89509
 6     Attorneys for Defendant                 Attorneys for Plaintiff
       HOME DEPOT U.S.A., INC.                 ODELL GUSS
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 8           IT IS SO ORDERED.
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10    DATED:     October 19, 2020
                                           UNITED STATE DISTRICT JUDGE
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       STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE                3:20-cv-00219-MMD-
                                                                         WGC
     Case 3:20-cv-00219-MMD-WGC Document 13
                                         12 Filed 10/19/20 Page 3 of 3


                                        CERTIFICATE OF SERVICE
 1

 2                               Odell Guss v. Home Depot U.S.A., Inc., et al.
             United States District Court, State of Nevada. Case No. 3:20-cv-00219-MMD-WGC
 3
               Pursuant to NRCP 5(b), I certify that I am an employee of Burnham Brown, and that on
 4
      this date, I caused the foregoing:
 5
               STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE
 6

 7    to be served on all parties to this action by:

 8             E-FILE: By transmitting a true copy, by way of electronic filing upon each of the

 9             parties at the following e-mail address(es).

10
                Graham Galloway, Esq.                         Attorneys for Plaintiff
11              Robert R. Jensen, Esq.                        ODELL GUSS
                GALLOWAY & JENSEN
12              222 California Ave.
                Reno, NV 89509
13
                Tel: (775) 333-7555
14              Email: graham@gallowayjensen.com

15

16
       Dated:        October 19, 2020
17                                                         /s/ Peggy Ortega
                                                         Peggy Ortega an employee of Burnham Brown
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21    4845-0387-9375, v. 1

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       STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE                          3:20-cv-00219-MMD-
                                                                                   WGC
